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 Attorney or Party Name, Address, Phone & Fax Nos.,                                          FOR COURT USE ONLY
 State Bar No. & Email

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 □ Debtor(s) appearing without an attorney
 si Attorney for Debtor(s)
                                                               United States Bankruptcy Court
                                               Central District of California - Santa Ana Division

  In re:
                                                                                             CASE NO.: 8:19-bk-14308-ES
  Karia Golbert
                                                                                             CHAPTER: Chapter 13




                                                                                                             SUMMARY OF AMENDED SCHEDULES,
                                                                                                                  MASTER MAILING LIST,
                                                                                                                         AND/OR STATEMENTS
                                                                                                                               [LBR 1007-1(0)]




                                                                              Debtor(s).



A filing fee is required to amend Schedules D or E/F (see Abbreviated Fee Schedule on the Court's website www.cacb.uscourts.gov). A supplemental master
mailing list (do not repeat any creditors on the on^al) is required as an attachment if creditors are being added to the Schedule D or E/F.
Are one or more creditors being added? Q Yes S] No

The following schedules, master mailing list or statements (check all that apply) are being amended:

   S] Schedule fiJB       ^ Schedule 0             d Schedule D            O Schedule E/F           Q Schedule G
   □ Schedule H       □ Schedule I         □ Scheduled    □ Schedule J-2                            □statementofFinanacial Affairs
   □ Statement About Your Social Security Numbers □ Statement of Intention                          □ Master Mailing List
   □ Other (specify)                                                                 —


I/we declare ui^er p^alty of perjury under the laws of the United States that the amended schedules, master mailing list, and orstatements are true and correct.

Date
                                                                                 Debtor 1 Signature



                                                                                Signature of Debtor 2 Goint debtor) (if applicable)


NOTE: It is the responsibility of the Debtor, or the Debtor's attorney, to serve copies of all amendments on all creditors listed in this Summary of Amended
Schedules, Master Mailing List, and/or Statements, and to complete and file the attached Proof of Service of Document.



                            This form is mandatory. It has treen approved for use by the United States Bankruptcy Court for the Central District of California
December 2015
                                                                                                                                               F 1007-1.1JVMENDED.SUMMARY
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